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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA ADKINS )
)
Plaintiff )
) Case No. 10 C 8279

v. )

) Judge Milton I. Shadur
LOCAL 705 INTERNATIONAL )
BROTHERHOOD OF TEAMSTERS )
PENSION PLAN )
)
Defendant )

DEFENDANT’S MEMORANDUM OF LAW IN
SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

Defendant Local 705 International Brotherhood of Teamsters Pension Plan (the Plan), by
and through its attorneys, K&L Gates LLP, and pursuant to Rule 56 of the Federal Rules of Civil
Procedure, respectfully submits the following Memorandum of Law in Support of Its Motion for
Summary Judgment on the Complaint filed by Brenda Adkins (Adkins):

I. Introduction

Adkins alleges two, apparently alternative, claims. In Count I, Adkins alleges that she is
entitled to pension benefits under the Plan pursuant to the Employment Retirement Income
Security Act of 1974, 29 U.S.C. § 1001, et seg. (ERISA), based on her employment with Gas
City, Ltd., and its successor, A. D. Conner (collectively, A.D. Conner) between February 1995
and November 2006 (the Relevant Period). But Adkins was not a member of the bargaining unit
and she never performed covered bargaining-unit work during the Relevant Period that would
entitle her to pension benefits under the Plan.

In Count II, Adkins alleges that she is entitled to “restitution” under “federal common

law.” But Adkins has no standing to maintain a suit for equitable “restitution” of contributions

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mistakenly made by her employer, as only an “employer” may (under some circumstances) seek
the return of contributions it mistakenly has made to a plan. In any event, awarding the mistaken
pension contributions at issue to Adkins would be inequitable. Adkins never was entitled to
have her employer make such contributions on her behalf. Moreover, A.D. Conner owes the
Plan hundreds of thousands of dollars in delinquent contributions that should have been paid for
the benefit of bona fide participants. The Plan has sued A.D. Conner to recover these delinquent
contributions and other damages and it is possible that A.D. Conner could assert any
contributions it mistakenly made on behalf of Adkins and others as an offset against amounts it
should have paid but did not. Under the circumstances, awarding Adkins the contributions at
issue could expose -the Plan (and bona fide participants) to a net loss of contributions that should
have been paid even if the Plan recovers all amounts due from A.D. Conner. Adkins therefore
has no basis in equity to the contributions at issue, as retention by the Plan of such mistaken
contributions does not constitute unjust enrichment, awarding the contributions to Adkins would
result in a windfall, and such “restitution” could harm the financial integrity of the Plan and
would unfairly penalize bona fide Plan participants on whose behalf A.D. Conner should have
made contributions but did not.

If. Undisputed Material Facts’

The Plan is a multiemployer employee pension benefit plan within the meaning of 29
U.S.C. § 1002(2) and 1002(37), with offices located at 1645 West Jackson Boulevard., Chicago,

Illinois 60612. Complaint and Answer. Adkins resides in Frankfort, Illinois. Id.

 

' During the status hearing on March 25, 2011, and in light of the summary judgment papers

previously filed in this case, the Court instructed the parties that they did not need to again
file formal Rule 56 statements of fact, but could recite the undisputed material facts in their
respective summary judgment motion papers in a more informal manner. Accordingly, the
Plan has attached the Affidavit of Jack Witt in support of its current Motion for Summary
Judgment.
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Adkins is a former employee of Gas City, Ltd. and its successor A. D. Conner
(collectively A. D. Conner). Defendant’s Answer, ¥3. Adkins was employed by A. D. Conner
between February 1995 and November 2006 (the Relevant Period). Jd. During the Relevant
Period, Adkins was employed solely as a dispatcher. Complaint and Answer, {[ 5; Declaration of
Jack Witt, Jf] 12-13, attached as Exhibit A.

A. D. Conner was a participating employer in the Plan. Witt Aff, 4; Complaint and
Answer, § 6. A. D. Conner and Local Union 705 of the International Brotherhood of Teamsters,
AFL-CIO (the Union), entered into collective bargaining agreements, pursuant to which A. D.
Conner agreed to make pension contributions on behalf of members of the bargaining unit who
performed bargaining unit work. Witt Aff, 5; Complaint and Answer, { 6.

The collective bargaining agreements between the Union and A. D. Conner provided:

The bargaining unit shall consist of all the Employer’s drivers
employed at locations [covered by the agreements] who make
deliveries of petroleum products, caustics, chemicals and all
related products of any nature and description however packaged
or contained to or from any Bulk Plant, Refinery Pipe Line

Terminal, Bulk Storage Terminal or facility, Water Terminal and
customer.

Witt Aff., 7 (emphasis supplied). In addition, the collective bargaining agreements provided
that “[t]he duties of the Employees [covered by the agreements],” i.e., bargaining-unit work:

[SJhall consist of driving the Employer’s truck and delivering
the contents to and from the aforesaid locations

Witt Aff., | 8 (emphasis supplied).
During the Relevant Period, Article 8, Section 3 of the Pension Plan provided:

Only the Administrator (subject to appeal) and the Trustees have
the authority to determine the eligibility for benefits and the night
to participate in the Pension Fund, and the exercise of all the other
powers specified in the Plan. The Trustees shall have full
discretionary authority to construe and interpret the terms of the
Fund Trust Agreement, the Plan, the Plan documents, and the
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procedures of the Fund and Plan, and to determine eligibility for,
entitlement to, and the amount of Plan benefits in accordance with
Plan terms. . Benefits under this Plan will be paid only if the
Administrator (subject to appeal) and the Trustees decide in their
discretion that the applicant is entitled to them. The Trustees may,
in their sole discretion, modify, amend or terminate the Plan in any
manner or at any time. No officer, agent or employee of the
Union, or Employer, or any other person, is authorized to speak
for, or on behalf of, or to commit the Trustee or Administrator, or
any matter relating to the Pension Fund or Plan.

Witt Aff, 410. Article 9, Section 7 of the Trust Agreement that created the Plan provided:

The Trustees shall have full discretionary authority to construe,
and interpret the terms of, the Trust Agreement, the Plan, the Plan
documents, the policies, rules, regulations, and procedures of this
Fund and the Plan, motions and other parties of the minutes of
Trustees’ meetings, and all other documents and written materials
used by or applicable to this Fund or the Plan, and to determine
eligibility for, entitlement to, and the amount of Plan benefits in
accordance with Plan terms. The Trustees’ interpretation shall be
binding on the parties hereto, Employers, Employees, Participants
in the Pension Plan, and all other persons.

Witt Aff, § 11.
The collective bargaining agreements between the Union and A. D. Conner provided that:

The Trustees of the Fund shall have the sole power (a) to construe
the provisions of the Trust Agreement and rules and regulations
and all terms used therein, and (b) to determine all disputes with
respect to eligibility, the right to participate in benefits of the Fund,
time, method of payment and related matters, and any construction
adopted or determination made by the Trustees in good faith shall
be final and binding upon all Employers, Employees, participants,
legal representatives, dependents, relatives and all persons and
patties.

Witt Aff, 79.

| Adkins did not pay contributions to the Plan. Witt Aff, 914. The contributions that
A.D. Conner made to the Plan on behalf of Adkins were not deducted from her pay. Witt Aff.,
4,15. The Plan does not maintain separate accounts that segregate an employer’s pension

contributions by employee, i.e., there is no Brenda Adkins “account.” Witt Aff, J 16.
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The Plan has sued A.D. Conner in the United States District Court for the Northern
District of Illinois, Docket No. 10 C 6352, and seeks more than $1,000,000 in unpaid
contributions, interest, penalties, and other sums. Witt Aff., 17. The Complaint is attached as
Exhibit B. For the period March through July 2010 alone, A.D. Conner owes, but has not paid,
pension contributions totaling $387,932.00. Witt Aff., 718. The contributions A.D. Conner
mistakenly made on Adkins’ behalf amount to less than $40,000. Witt Aff., { 19.

Il. Argument

A. Adkins is not entitled to benefits because she was not a bargaining
unit member and never performed covered bargaining-unit work

The Plan is entitled to summary judgment on Count I and Adkins is not entitled to
pension benefits under the Plan because Adkins was not a member of the bargaining unit and she
never performed covered bargaining-unit work during her employment with A. D. Conner.

A. D. Conner was obligated to make pension contributions to the Plan on behalf of
members of the bargaining unit who performed bargaining-unit work, as those terms are defined
in the relevant collective bargaining agreements between A. D. Conner and the Union. Witt Aff,
19. Specifically, the relevant collective bargaining agreements expressly provided:

The bargaining unit shall consist of all the Employer’s drivers
employed at locations [covered by the agreements] who make
deliveries of petroleum products, caustics, chemicals and all
related products of any nature and description however packaged
or contained to or from any Bulk Plant, Refinery Pipe Line
Terminal, Bulk Storage Terminal or facility, Water Terminal and

customer.

Witt Aff., 10 (emphasis supplied). The agreements provided that bargaining unit duties:

[SJhall consist of driving the Employer’s truck and delivering
the contents to and from the aforesaid locations

Witt Aff, { 11 (emphasis supplied).

It is undisputed that A. D. Conner employed Adkins solely as a dispatcher and never as a
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driver. Complaint and Answer, § 5; Witt Aff., 113. Adkins therefore was not a member of the
bargaining unit and never performed covered bargaining-unit work under the applicable
collective bargaining agreements. Adkins therefore is not entitled to pension benefits under the
plain terms of the Plan. Moreover, summary judgment is particularly appropriate because the
Plan’s determination that Adkins never performed covered bargaining-unit work and is not
entitled to pension benefits is entitled to deferential review by this Court.

Where plan administrators exercise discretion to deny a claimant’s eligibility for benefits,
a court merely reviews whether the decision was arbitrary and capricious. Ramsey v. Hercules,
Inc., 77 F.3d 199, 202-03 (7th Cir. 1996). See also Morton v. Smith, 91 F.3d 867, 870 (7th Cir.
1996) (where "fiduciaries are bound to interpret the plan under the broad standard of good faith, .
their discretion is even more extensive, and judicial review is even more deferential" and "Courts
will then examine the exercise of this degree of discretion to determine whether it is arbitrary and
capricious"). There are "no magic words" that confer discretion on a plan administrator.
Chojnacki v. Georgia-Pacific Corp., 108 F.3d 810, 814 (7th Cir. 1997). But the Seventh Circuit
has stated that language to the effect that "benefits under this plan will be paid only if the plan
administrator decides in his discretion that the applicant is entitled to them" is a "safe harbor"
that will ensure application of the arbitrary-and-capricious standard of review. Herzberger v.
Standard Ins. Co., 205 F.3d 327, 331 (7th Cir. 1996).

Under the arbitrary-and-capricious standard, courts will uphold the administrator's
decision so long as the decision is based on a reasonable interpretation of the plan's language and
the evidence in the case. Daill v. Sheet Metal Workers' Local 73, 100 F.3d 62, 68 (7th Cir.
1996). Arguments over the sufficiency of evidence submitted to the plan administrator cannot

- demonstrate arbitrariness or capriciousness where there is evidence in the record that supports
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the plan administrator's reasons or decision. See Exbom v. Central States, S.E. and S.W. Areas
Health and Welfare Fund, 900 F.2d 1138, 1144 (7th Cir. 1990) (existence of conflicting
evidence in record did not provide a basis to find plan administrator's decisionwas arbitrary or
capricious). In other words, "[a]ll questions of judgment are left to the administrators, and a
court must be very confident that the administrators overlooked something important or seriously
erred in appreciating the significance of the evidence to overturn the administrator's
determination.” Jones v. General Motors Pension Plan, 1998 U.S.Dist. LEXIS 17526, *12
(N.D.IIl. 1998). Plaintiff must show the plan’s decision is "not just a clearly incorrect but
downright unreasonable." Morton, 91 F.3d at 870.

The Trustees and Plan Administrator plainly exercise discretion and are entitled to
application of the arbitrary-and-capricious standard of review. Indeed, the Plan contains the
“safe harbor” language recognized by the Seventh Circuit in Herzberger. See Witt Aff., Ff 10,
11 (quoting and discussing Article 8, Section 3 of the Pension Plan and Article 9, Section 7 of
the Trust Agreement that created the Plan respectively). The collective bargaining agreements
also tracked the Plan and Trust Agreement language regarding the discretion of the Trustees to
exercise discretion in making eligibility determinations. Witt Aff., ] 9.

Nevertheless, Adkins alleges that “A.D. Conner and Local 705 considered dispatchers
and mechanics covered employees and part of the bargaining unit.” Complaint, 76. But
"ERISA instructs courts to enforce strictly the terms of plans." Riordan v. Commonwealth
Edison Co., 128 F.3d 549, 553 (7™ Cir. 1997). Strict enforcement of plan terms is necessary
because "[o]ne of ERISA's primary purposes is to ensure the integrity of written plans." Admin.
Comm. Of Wal-Mart Stores, Inc. v. Varco, 338 F.3d 680, 691 (7" Cir. 1998). In particular,

courts have found that one of Congress' main purposes in enacting ERISA was to "protect the

 
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financial integrity of pension and welfare plans by confining each parties’ obligations to the
terms of the plans as written." Pohl v. National Benefits Consultants, Inc., 956 F.2d 126, 128 (7
Cir. 1992). A "multi-employer pension agreement is not a normal two-party contract for which
evidence of idiosyncratic meaning may be used to depart from the objective meaning of the
words." Central States, Southeast and Southwest Areas Pension Fund v. Central Cartage Co.,
69 F.3d 1312, 1315 (7" Cir. 1995). Accord Dugan v. Smerwick Sewerage Co., 142 F.3d 398,
404 (7" Cir. 1998). Accordingly, the Plan is entitled to rely on the plain terms of the collective
bargaining agreements to determine eligibility and is not bound by any understandings or
practices by or between the union or the employer to vary the express terms of the written
agreements. See, e.g, Varco, 338 F.3d at 691 ("Oral understandings and practices may not be
used to vary pension promises"); Central States, Southeast and South West Areas Pension Fund
v. Ryan Transfer and Storage Co., 2000 U.S. Dist. LEXIS 13773, *16-22 (N.D.Ill. September
13, 2000) (rejecting employer's argument that certain employees waived coverage or were not
covered under past practice, as "[p]ast practice cannot modify clear contract language").

Adkins also alleges that the Plan “has granted pension credits for similarly situated
employees of Gas City, Ltd. and A.D. Conner, Inc. who were performing the same work as
Adkins.” Complaint, 17. The allegation is not true. See, e.g., Defendant’s Reply in Support of
Its Motion for Summary Judgment, dated August 21, 2009, at 9-11 (demonstrating in prior
summary judgment proceeding that employees cited by Adkins are not “similarly situated”). In
any event, Adkins’ allegation is irrelevant and cannot create a question of material fact.

As the Seventh Circuit has explained in rejecting similar “fairness” allegations, “[i]t is
not enough, though, to point out that pension credit or benefits have been awarded to another

person” because “i]t is possible, for example, that a fund might erroneously award benefits to a
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participant, but that would not mean that it was bound to repeat its error with others who came
along.” Perry v. Sheet Metal Workers’ Local No. 73 Pension Fund, 585 F.3d 358, 364 (7™ Cir.
2009) (rejecting argument that fund unfairly covered an allegedly similarly-situated employee
but not plaintiffs and affirming district court’s decision to grant summary judgment in favor of
the fund). Or, as the Seventh Circuit stated in a different case:

It is more than a little difficult to see why plaintiffs, whose
applications were correctly denied under the program’s stated
criteria, should be entitled to relief because [defendant] was unduly
generous with other employees. If this were a medical benefits
program, would one decision to pay for an un-covered medical
procedure (say, a dental implant in lieu of a bridge) entitle every
other employee to reimbursement for that procedure? An
employer is supposed to apply the plan’s written terms, and
departure from those terms on one occasion does not estop the
employer to enforce them on others. Plaintiffs suggest that every
divergence from a plan’s criteria is an “amendment” of the plan
entitling them to the same benefits, but that is a non-starter ....
Amendments are accomplished through a formal process and
produce a revised written instrument. Deviations from a plan are
just that — deviations. The plan remains what it was, and
claims for benefits continue to be evaluated in light of its
written criteria.

McNab vy. General Motors Corp., 162 F.3d 959, 961 (7™ Cir. 1998) (emphasis supplied). See
also RLJCS v. Professional Benefit Trust Multiple Employer Welfare Benefit Plan and Trust, 487
F.3d 494, 497-98 (7™ Cir: 2007) (noting that paying out benefits to which plaintiffs were not
entitled under the trust terms "would leave less for other participants in the Trust," and
explaining that "[e]very participant gets his entitlement under the plan's terms, no less and no
more; no participant is entitled to a windfall, no matter how earnestly one was promised and no
matter how many mistaken payments the plan may have made before it finally got things right"). .
Adkins’ claim must stand or fall on its own merits. The plain terms of the Plan bar her claim.
Given the foregoing, the Plan’s conclusion that Adkins is not entitled to Plan benefits

easily satisfies the deferential arbitrary-and-capricious standard of review.
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B. Adkins has no standing to seek “restitution” from the Plan and, in any
event, the balance of equities does not warrant “restitution”

The Plan also is entitled to summary judgment on Count II, Adkins’ alternative claim for
equitable “restitution” under federal common law. Adkins has no standing to seek equitable
“restitution” of contributions mistakenly made by her employer, as only an employer may (under
some circumstances) seek the return of overpayments or mistaken contributions it has made to an
ERISA pension plan. In any event, the balance of equities do not justify restitution to Adkins.

Courts have held that employers may assert a federal common law claim for restitution
of pension contributions the employers mistakenly made to ERISA pension plans, but have
rejected employees’ claims for restitution of such contributions. See, e.g., Flynn v. Hach, 138
F.Supp.2d 334, 351-52 (E.D.N.Y. 2001) (noting that courts have held that employers may bring
claims for equitable restitution but granting defendants’ motion for summary judgment on
plaintiff's claim for equitable restitution of contributions erroneously made on his behalf inter
alia because “Flynn is not an employer suing for restitution of monies erroneously paid by him
into a pension fund” and that “whatever claim [the contributing entity] may have to the
restitution of the overpayments it made on plaintiff's behalf, it hardly appears that equity
demands restitution of these monies to Flynn”) (italics in original). Cf Chase v. Trs. Of W.
Conference of Teamsters Pension Fund, 753 F.2d 744, 753-54 (9" Cir. 1985) (Judge Reinhardt
concurring in judgment that owners of the taxicab cooperative that made mistaken contributions
to the defendant fund could sue for restitution but stating that he “did not believe that [ERISA]
contemplates that individual employees shall ordinarily have the right to institute suit for such
refunds”); Kolbe & Kolbe Health and Welfare Ben. Plan v. Kolbe & Kolbe Millwork Co., Inc.,
690 F.Supp.2d 778, 783 (W.D.Wis. 2010) (refusing to imply right of benefit plan to bring claim

for restitution of mistakenly paid benefits, noting that “in those cases in which the court of

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appeals has allowed a federal common law restitution action, the action was brought by an
employer for the refund of a mistaken overpayment”) (italics in original). See also Rochetti v.
American Fed. Of Musicians’ and Employers’ Pension Welfare Fund, 1987 U.S. Dist. LEXIS
8037, *22-27 (N.D.Ill. August 13, 1987) (granting funds’ motion to dismiss musicians’ claim
seeking to recover contributions mistakenly made on their behalf and refusing to imply a right to
restitution); Rhinehart v. United Brotherhood of Carpenters Pension Fund, 191 F.Supp.2d 1283,
1291-92 (W.D.Okla. 2001) (plaintiffs claim for restitution of contributions mistakenly made by
his employer “has no basis in law” and granting fund’s motion for summary judgment).

The distinction is understandable when one considers the rationale for employer
restitution claims under the federal common law. In UJU Severance Pay Trust Fund v. Local
Union No. 18-U, United Steelworkers of America, 998 F.2d 509 (7 Cir. 1993), the Seventh
Circuit agreed that the creation of federal common law is appropriate to fill in ERISA’s
interstices to effectuate the statute enacted by Congress. UIJU, 998 F.2d at 512, 512 n.10. Citing
specific ERISA provisions, the Court determined that permitting employers to seek restitution of
mistaken contributions under federal common law was necessary to fully effectuate the statute:

ERISA permits plan trustees to return to employers payments
made to a plan which are the result of a mistake of law or fact, but
it does not establish a cause of action by which employers may
seek to compel such a refund. Absent a judicially-crafted cause of
action, employers are left to the mercy of plan trustees who have
no financial incentive to return mistaken payments. Employers
already are penalized for failing to make required
contributions. If they are not permitted to seek recovery of
mistaken contributions they may be less inclined to sponsor

ERISA-qualified plans at all. This would undermine ERISA’s
goal of expanding pension and welfare benefit plan coverage.

Id. at 512-13 (italics in original; other emphasis supplied; citations omitted). There are no
analogous provisions relating to employees and therefore no corresponding need to create

common law claims on their behalf to fill in the interstices of ERISA.

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Nevertheless, Adkins relies on the Seventh Circuit’s decision in Constr. Indus. Ret. Fund
v. Kasper Trucking, Inc., 10 F.3d 465 (7% Cir. 1993) to support her claim for equitable
restitution. In Kasper, the employer used the services of drivers who owned their own rigs.
Kasper, 10 F.3d at 466. Initially, the employer agreed to treat them as employees for purposes of
pension and health coverage, “deducting money from their pay and remitting the sums to multi-
employer plans covered by [ERISA].” Jd. at 467. The funds in turn segregated the employer’s
contributions in separate accounts in the name of each driver. Jd. at 467, 468. Subsequently, the
employer decided that the drivers should be classified as independent contractors, who could not
participate in the plans, and sought a refund of the contributions from the funds. Jd. at 467.
Conceding that it had no claim to the contributions but fearing duplicative recoveries, the
pension fund filed an interpleader action offering to pay the money to its rightful owner and both
the employer and some (but not all) of the drivers filed claims. Jd. The district court inter alia
awarded pension fund accounts to the drivers in whose names the funds were held but denied the
employer’s claim. Jd. The Seventh Circuit affirmed.

On appeal, the Seventh Circuit found that the pension contributions in fact were part of
the compensation package originally negotiated between the employer and the drivers — “Kasper
and its drivers agreed that Kasper, instead of paying all cash for labor and vehicles, would pay
partly in cash and partly in pension contributions.” Kasper, 10 F.3d at 469 (emphasis supplied).
Although Kasper later tried to alter this arrangement, the drivers already had earned those
contributions and the tight to this deferred compensation through their labor under the terms of
the original agreement. If the drivers no longer were entitled to participate in the defendant
pension plan, the court reasoned that “there are two other ways to reach the same objective:

Kasper may take the money and buy annuities for the benefit of the drivers; or the drivers may

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take the money and buy their own annuities (or make equivalent investments), using the pension
rollover features of the tax law.” Jd. Thus, the Seventh Circuit held:

What decides this case, therefore, is the use Kasper proposes to

make of the money: Kasper wants to put the cash in the

corporate treasury without funding substitute pension vehicles

for the drivers.. That outcome would be inconsistent with the

parties’ bargain of cash now and retirement income later. The
district court therefore properly awarded the money to the drivers.

Id. (italics in original; other emphasis supplied).

Kasper plainly does not create a federal common law right for employees to seek
restitution of their employer’s mistaken contributions from multiemployer pension plans and
does not purport to do so. The pension fund affirmatively disclaimed any interest in the
contributions at issue. That is why the fund filed an interpleader action — the only persons who
had any plausible claim to the contributions were the drivers or the employer. The contributions
were segregated in separate accounts in the name of each driver. The contributions therefore
were identifiable, obviously associated with particular persons, and refunding the contributions
would not reduce the pension “accounts” of any other fund participant. Accordingly, the
equitable issue decided in Kasper was very limited — the only question presented and decided
was who had the better claim to the contributions between the drivers and the employer.

The instant facts are much different from those in Kasper. The Plan asserts a competing
claim to the contributions at issue on behalf of bona fide participants. All contributions by A.D.
Conner are pooled by the Plan — there is no Brenda Adkins “account” that holds “her”
contributions separate from those of other participants. Refunding the disputed contributions
necessarily will reduce the total funds available for all bona fide Plan participants. Moreover,
the Plan currently is suing A.D. Conner to recover hundreds of thousands of dollars in delinquent

contributions and A.D. Conner might be able to assert any mistaken contributions, including the

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contributions it made on Adkins’ behalf, as an offset against the amounts it owes the Plan and
participants. Recovery by Adkins here might expose the Plan (and bona fide participants) to a
net loss of contributions that should have been made by A.D. Conner, even if the Plan
successfully recovers all amounts due in its lawsuit against A.D. Conner. Kasper did not address
and does not resolve such competing claims and interests.

But even if, like some employers, Adkins had standing to assert a claim for restitution
under federal common law — and she does not — “recovery will not follow automatically upon a
showing that [more contributions were made] than required but only if the equities favor it.”
UIU, 998 F.2d at 513 (citation and internal quotations omitted). Here, the balance of equities
demonstrates that awarding the contributions at issue to Adkins would be inequitable.

As set forth above, under the express terms of the collective bargaining agreement,
Adkins never was a bargaining unit member, never performed bargaining unit work, and never
was entitled to have pension contributions made on her behalf. Moreover, the contributions did
not come out of Adkins’ pocket. Thus, Adkins seeks a windfall and “equity ... abhors a
windfall.” The Prudential Ins. Co. of America v S.S. American Lancer, 870 F.2d 867, 871 (2d
Cir. 1989).

On the other hand, as discussed above, permitting Adkins to recover A.D. Conner’s
mistaken contributions here might expose the Plan (and bona fide participants) to a net loss of
contributions that should have been made by A.D. Conner, even if the Plan successfully recovers
all amounts due in its lawsuit against A.D. Conner. See Flynn, 138 F.Supp.2d at 353 (denying
federal common law restitution claim by employee and noting that, if such claims are permitted,
“funds may find it difficult to set aside accurate reserves to cover future claims, with the result

that beneficiaries of the funds may be undercompensated as a result of conservative judgments as

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to such reserves,” and that the “problem may be exacerbated if plans had to anticipate restitution
claims by unsuccessful participant claimants as well as by contributing employers,” as an
“employer overpayment claim can often be dealt with simply by offsetting future obligations
against the overpayment, but an unsuccessful participant claimant is generally seeking a cash
award, which could more directly affect the stability of the fund’s asset reserves” and this “runs
contrary to the touchstone of ERISA, which is the protection of the financial integrity of
multiemployer pension funds”) (citations and internal quotation marks omitted).

In sum, “restitution” is not warranted, as the Plan’s retention of A.D. Conner’s mistaken
contributions does not constitute unjust enrichment and awarding the contributions to Adkins
would result in a windfall, could harm the financial integrity of the Plan, and would unfairly
penalize bona fide Plan participants on whose behalf A.D. Conner should have made
contributions but did not.

IV. Conclusion

For all the reasons set forth above, The Local 705 International Brotherhood of Teamsters
Pension Plan respectfully prays that the Court enter an order granting judgment in its favor and
against Brenda Adkins, denying all relief sought by Brenda Adkins, and awarding such other

relief as the Court deems just and proper.

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Dated: May 6, 2011

James P. Daley

Edward M. Graham

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Respectfully submitted,

LOCAL 705 INTERNATIONAL
BROTHERHOOD OF TEAMSTERS
PENSION PLAN

s/Edward M. Graham
One of Its Attorneys
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CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that a true and correct copy of the above
and foregoing Defendant’s Memorandum of Law in Support of Its Motion for Summary
Judgment was electronically filed with the Clerk of the Court using the CM/ECF system which

will send notification of such filing, on this 6th day of May 2011, to the following:

David R. Shannon

Tenney & Bentley, LLC

111 W. Washington Street, Suite 1900
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s/Edward M. Graham
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